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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
   LIABILITY LITIGATION
                                                     Case No. 16-md-02741-VC


   This document relates to:                         PRETRIAL ORDER NO. 326: ORDER
                                                     DENYING MONSANTO’S MOTION
   Levy v. Monsanto Co.,                             TO EXCLUDE EXPERT SOLOMON
   Case No. 3:21-cv-07643-VC                         HAMBURG AND FOR SUMMARY
                                                     JUDGMENT
                                                     Re: Dkt. No. 20080

       Monsanto’s motion to exclude the testimony of Dr. Solomon Hamburg is denied. This

ruling assumes the reader’s familiarity with the facts, the applicable legal standard, the prior

Daubert rulings in this MDL, and the arguments made by the parties. See generally In re

Roundup Products Liability Litigation, 390 F. Supp. 3d 1102 (N.D. Cal. 2018) (Pretrial Order

No. 45, Dkt. No. 1596); In re Roundup Products Liability Litigation, 358 F. Supp. 3d 956 (N.D.

Cal. 2019) (Pretrial Order No. 85, Dkt. No. 2799); Hardeman v. Monsanto Company, 997 F.3d
941 (9th Cir. 2021).

       Monsanto’s motion here follows the same pattern as the one addressed in Pretrial Order

No. 317. See Dkt. No. 20370. It relies primarily on the opinions disclosed in Hamburg’s report

and citations to cross-examination-style deposition testimony in which Hamburg was not given

an opportunity to explain his opinions. See, e.g., Hamburg Dep. (Dkt. No. 20231-4) at 60:12–

61:10) (regarding Levy’s thyroid cancer), 61:11–62:21 (regarding Levy’s family history). That is

not sufficient to exclude his opinion relating to the risk factors of age, gender, ethnicity, family
history, or his personal history of thyroid cancer (even though the testimony about family history
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and especially personal history is dubious). Some of Hamburg’s testimony is eyebrow raising,

particularly about his recollections of obese NHL patients and his general views on obesity as a

risk factor. See id. at 62:23–64:8, 110:21–111:23. But Monsanto hasn’t presented evidence that

Levy was obese, so that cannot serve as a basis for his exclusion either. See id. at 65:3–15.

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       As Levy will be able to call Hamburg to testify about specific causation, Monsanto’s

motion for summary judgment is denied.



       IT IS SO ORDERED.

Dated: March 31, 2025
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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